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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       CASE NO. 23-CR-71 (RDM)
                v.                          :
                                            :
BRYAN SHAWN SMITH,                          :
                                            :
                      Defendant.            :


                   GOVERNMENT’S OPPOSITION TO
    DEFENDANT’S MOTION FOR PRODUCTION OF ALL MEDICAL RECORDS,
     STATEMENTS AND REPORTS ASSOCIATED WITH THE SUPERSEDING
                           INDICTMENT

       The Court should deny the defendant’s motion to compel the government to produce all

medical records, statements, and reports associated with the Superseding Indictment. The

government has provided all discovery associated with the Superseding Indictment to the defense

and does not possess any medical records or reports associated with the Superseding Indictment.

                         Relevant Factual & Procedural Background

       The FBI arrested the defendant in Huntsville, Alabama on December 13, 2022. (ECF No.

5). The Court arraigned the defendant on the original indictment on March 9, 2023. (Minute Entry,

March 11, 2023) The government provided the defense with discovery more than a year ago. On

March 25, 2024, the government confirmed with Mr. Aubrey Webb, the defendant’s prior attorney,

that he provided the defendant all the case specific discovery prior to his withdrawal on October

11, 2023.

       On March 6, 2024, the grand jury returned a superseding indictment against the defendant,

amending the charge under 18 U.S.C. § 111(a)(1) to 18 U.S.C. § 111(b); adding two additional

misdemeanors; and removing an enhancement under 18 U.S.C. § 1752(a)(1).

       Prior to the March 19, 2024, status conference, the government made repeated attempts to



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provide the defendant with additional discovery relevant to the Superseding Indictment. Following

the March 19, 2024, status conference, the government sent the defendant all discovery in this

case, as well as preliminary trial exhibits, including all discovery concerning the superseding

indictment, via FedEx expedited shipping. (ECF No. 46) FedEx delivered all discovery to the

defendant on March 20, 2024.

         At the pre-trial conference on April 2, 2024, the defendant retained three new defense

attorneys. Even though the government provided all discovery to the defendant less than two weeks

before the hearing, the government agreed to provide all discovery materials to the defendant

again.

         On April 2, 2024, the government emailed the defense, advising that the government was

compiling discovery in a folder on USAFx and the government would provide the link to access

the discovery. Despite this, the defense filed a motion “To Compel Production of Associated

Discovery.” (ECF No. 55).

         The government provided the USAFx link with the discovery on April 3, 2024, which

contains all discovery in this case, including the discovery relevant to the Superseding Indictment.

Several days later, the defense filed another discovery motion for the “Production of All Medical

Records, Statements and Reports Associated with the Superseding Indictment.” (ECF No. 56)

                                            Argument

         The defendant asks this Court to compel production of discovery that either is already in

the defendant’s possession, or that the government does not possess.

         All relevant discovery associated with the Superseding Indictment, including witness

statements, is in the defense’s possession. The government acted in good faith to diligently provide

the defense all discovery since the onset of this case over a year ago. The defendant received the




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discovery in this case from his previous defense attorney. Following the Superseding Indictment,

the government again provided the defendant all case specific discovery, including all additional

discovery relevant to the Superseding Indictment through expedited FedEx mail on March 20,

2024.

        The Government advised the Court and the defendant at the April 2, 2024, pretrial

conference that the government would provide a third copy of all discovery to the defendant’s

counsel. The Government advised the defense in an email following the pre-trial conference that

they would provide a USAFx link with the discovery. The government honored this representation

and provided defense a link to a USAFx folder with the associated discovery, including all

discovery relevant to the Superseding Indictment. Therefore, the issue is moot. Additionally, the

government does not possess, and is not aware of, any medical records or reports pertaining to the

Superseding Indictment.

                                        CONCLUSION

        For the foregoing reasons, the defense’s motion for production of all medical records,

statements and reports associated with the Superseding Indictment should be denied.



                                        Respectfully submitted,

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